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     Attorney(s) for Social Positioning Input Systems, LLC
 6

 7
                    IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     SOCIAL POSITIONING INPUT        §
10
     SYSTEMS, LLC,                   §
11                                   §
          Plaintiff,                 §            Case No: 5:21-cv-07526-LHK
12
                                     §
13   vs.                             §            JURY TRAIL DEMANDED
                                     §
14
     SIEVA NETWORKS, INC. d/b/a      §            PATENT CASE
15   MATRACK                         §
                                     §            JOINT STIPULATION OF
16
          Defendant.                 §            DISMISSAL
17   ________________________________§
18
           Plaintiff Social Positioning Input Systems, LLC, and Defendant Sieva Networks,
19
     Inc. d/b/a Matrack, by their respective undersigned counsel, hereby STIPULATE and
20
     AGREE as follows:
21
           1.     All claims asserted by the Plaintiff in this Action are dismissed with
22
     prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
23
     without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
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           2.     Each party shall bear its own costs and attorneys’ fees with respect to the
25
     matters dismissed hereby;
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           This Stipulation and Order shall finally resolve the Action between the parties.
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                                 JOINT STIPULATION OF DISMISSAL
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 1
     Dated: December 30, 2021             Respectfully submitted,

 2                                        /s/Stephen M. Lobbin
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 9                                        FISH & RICHARDSON P.C.
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                                          By: /s/Rodeen Talebi
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                                          Attorney(s) for Defendant
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                                JOINT STIPULATION OF DISMISSAL
        Case 5:21-cv-07526-LHK Document 22 Filed 12/31/21 Page 3 of 3




 1
                              CERTIFICATE OF SERVICE

 2          I hereby certify that on December 30, 2021, I electronically transmitted the
 3
     foregoing document using the CM/ECF system for filing, which will transmit the
     document electronically to all registered participants as identified on the Notice of
 4   Electronic Filing, and paper copies have been served on those indicated as non-
 5   registered participants.
                                           /s/Stephen M. Lobbin
 6                                         Stephen M. Lobbin
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                                JOINT STIPULATION OF DISMISSAL
